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      9
                                          UNITED STATES DISTRICT COURT
     10                                  CENTRAL DISTRICT OF CALIFORNIA
     11
     12      Samuel Love,                                  Case No.: 5:15-CV-01700-ODW-DTB
     13                Plaintiff,
                v.                                         PLAINTIFF’S AMENDED PROPOSED
     14
                                                           FINDINGS OF FACT AND
     15      Jose M. Sanchez;
             Maria B. Sanchez;                             CONCLUSIONS OF LAW
     16      and Does 1-10,

     17                Defendants.                         Trial Date: January 3, 2017
     18                                                    Time: 9:00 a.m.

     19
                                                            Complaint Filed: August 24, 2014
     20
     21                                                     Honorable Judge Otis D. Wright, II

     22
     23
     24           Pursuant to this Court’s December 16, 2015 Scheduling and Case
     25
           Management Order and Central District Local Rule 52-1, the plaintiff submits his
     26
           Proposed Findings of Fact and Conclusions of Law:
     27
     28

                                                       1
           Plaintiff’s Amended Proposed Findings of Fact
           and Conclusions of Law                               5:15-CV-01700-ODW-DTB
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      1    Following bench trial, the Court makes the following FINDINGS OF
      2    FACT:
      3       1. Plaintiff Samuel Love cannot walk and uses a wheelchair for mobility.
      4       2. Mary’s Beauty Salon (“Salon”) is located at 3739 Rubidoux Blvd.,
      5           Riverside, California.
      6
              3. Defendants Jose M. Sanchez and Maria B. Sanchez owned Mary’s
      7
                  Beauty Salon and the real property where the Salon is located, in
      8
                  September 2013.
      9
              4. Defendants Jose M. Sanchez and Maria B. Sanchez currently own
     10
                  Mary’s Beauty Salon and the real property where the Salon is located.
     11
              5. Mr. Lopez went to the Store in September 2013to inquire about the
     12
     13
                  services offered at the Salon.

     14       6. Mary’s Beauty Salon is open to the public.

     15       7. Mary’s Beauty Salon is a business establishment.
     16       8. Parking spaces are one of the facilities, privileges and advantages
     17           offered by the defendant to the customers of the Store.
     18       9. On September 29, 2013, there was not a single parking space
     19           designated for use by persons with disabilities. There was no parking
     20           space with an adjacent access aisle, no signage indicating disabled
     21
                  parking, no “NO PARKING” lettering in any space, and no International
     22
                  Symbol of Access in any space.
     23
              10. Mr. Love needs a parking space with an access aisle to ensure that he has
     24
                  enough room to get in and out of his vehicle and assemble his
     25
                  wheelchair. Mr. Love also needs a space with the proper signage and
     26
                  markings so that it is clear to non-disabled patrons that it is only for
     27
     28
                  handicap persons to use.

                                                       2
           Plaintiff’s Amended Proposed Findings of Fact
           and Conclusions of Law                             5:15-CV-01700-ODW-DTB
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      1       11. Due to the lack of a disabled parking space with an access aisle, Mr. Love
      2           was deterred from visiting the Salon. This inaccessible condition
      3           caused Mr. Love difficulty, discomfort, and frustration.
      4       12. On March 14, 2015, Mr. Love returned to the Salon but found that
      5           the same barriers existed.
      6       13. Mr. Love lives within 30 minutes from the Salon and would like the
      7           ability to safely and independently park and patronize the Salon.
      8       14. Sometime subsequent to March 2015, a designated accessible
      9           parking space for persons with disabilities was installed at the Salon.
     10
              15. On July 12, 2016, Plaintiff’s expert Janis Kent conducted a site
     11
                  inspection of the Salon and found that the parking stall and the access
     12
                  aisle measured only 13’-3½” in length, until it reaches the asphaltic
     13
                  concrete in the alley. The parking stall measured only 8’-11”. The
     14
                  California Tow-away signage was missing. The California Minimum
     15
                  Fine sign does not state “MINIMUM FINE $250.” Instead it states ‘up
     16
     17
                  to $200 fine for violation’. Further, a portion at the head of the stall had

     18           cross slopes measuring 2.3%, 2.5%, 2.6% and a portion at the head of

     19           the access aisle had cross slopes measuring 2.2%.
     20     16. Providing an accessible parking that is compliant with ADAAG in the
     21        Salon is readily achievable for Defendants.
     22
     23    Following bench trial, the Court makes the following CONCLUSIONS OF
     24    LAW:
     25       1. Plaintiff Samuel Love is a person with disabilities, as contemplated by
     26           the Americans with Disabilities Act, and has standing to sue under the
     27           laws pled in this case. 42 U.S.C. § 12102(1)(A).
     28

                                                       3
           Plaintiff’s Amended Proposed Findings of Fact
           and Conclusions of Law                              5:15-CV-01700-ODW-DTB
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      1       2. Defendants own, lease, and/or operate a facility that is a place of public
      2           accommodation and, therefore, governed by Title III of the Americans
      3           with Disabilities Act. 42 U.S.C. § 12182(a).
      4
              3. Parking spaces are one of the facilities, privileges, and/or advantages
      5
                  Defendants offer customers of Mary’s Beauty Salon.
      6
              4. Defendants’ did not fulfill the requirement to provide an accessible
      7
                  parking at the Salon. Therefore, Defendants’ facility had unlawful
      8
                  architectural barriers. 42 U.S.C. § 12182(b)(2)(A)(iv); see Chapman v.
      9
                  Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 945 (9th Cir. 2011)
     10
     11
                  (Architectural barriers are defined by the Americans with Disabilities

     12           Act Accessibility Guidelines).

     13       5. Removal of the unlawful architectural barriers is presumed to be readily
     14           achievable. 28 Code of Federal Regulations 36.304(b)(18).
     15     6. Mr. Love encountered the unlawful architectural barriers, which
     16         precluded his full and equal access to the facility. 42 U.S.C. § 12188(a);
     17         Boemio v. Love’s Restaurant, 954 F.Supp. 204, 208 (S.D. CA 1997)
     18         (“The standard cannot be is access achievable in some manner. We must
     19
                focus on the equality of access.”); Chapman v. Pier 1 Imports (U.S.) Inc.,
     20
                supra, 631 F.3d at 945 (“The ADAAG provides the objective contours of
     21
                the standard that architectural features must not impede disabled
     22
                individuals’ full and equal enjoyment of accommodations.”).
     23
            7. Therefore, Defendants violated the Americans with Disabilities Act by
     24
                discriminating against Mr. Love “on the basis of a disability in the full and
     25
     26
                equal enjoyment” of the “facilities, privileges, [and/or] advantages” of

     27         their “place of public accommodation.” 42 U.S.C. § 12182(a).

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                                                       4
           Plaintiff’s Amended Proposed Findings of Fact
           and Conclusions of Law                             5:15-CV-01700-ODW-DTB
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      1     8. Defendants violated California’s Unruh Act by violating the Americans
      2         with Disabilities Act. Civ. Code § 51(f).
      3     9. Mr. Love is entitled to recover up to three times his actual damages, but
      4
                in no case less than $4,000. Cal. Civ. Code §§ 52(a), 55.56(a)-(c).
      5
            10. Mr. Love is entitled to recover reasonable attorney fees, litigation
      6
                expenses, and costs of suit. 42 U.S.C. § 12205; Cal. Civ. Code §§ 52,
      7
                54.3; Cal. Civ. Proc. § 1021.5.
      8
      9
     10
           Dated ______________, 2016                      By: _____________________
     11
                                                               Hon. Judge Otis D. Wright, II
     12
                                                               United States District Judge
     13
           Approved as to form and content:
     14
     15
           December 26, 2016                               CENTER FOR DISABILITY ACCESS
     16
     17
                                                           By: /s/ Chris Carson
     18                                                    CHRIS CARSON
                                                           Attorneys for Plaintiff
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           Plaintiff’s Amended Proposed Findings of Fact
           and Conclusions of Law                                    5:15-CV-01700-ODW-DTB
